       Case 2:19-cv-07927-ODW-GJS Document 149-3 Filed 11/04/19 Page 1 of 1 Page ID
 Kevin M. Lally                         #:1604
 McGuireWoods LLP
 355 S. Grand Avenue
 Suite 4200
 Wells Fargo Center – South Towner
 Los Angeles, California 90071


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 Space Exploration Technologies Corp,                                     CASE NUMBER
                                                                                                2:19-cv-7927-ODW-GJS
                                                           Plaintiff(s)
                              v.
 United States of America,                                                 (PROPOSED) ORDER ON APPLICATION OF
                                                                           NON-RESIDENT ATTORNEY TO APPEAR IN
                                                       Defendant(s).           A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Blake R. Christopher                                                              of    McGuireWoods LLP
  Applicant’s Name (Last Name, First Name & Middle Initial)                               2001 K Street, NW
  202-857-1723                              202-828-2974                                  Suite 400
  Telephone Number                          Fax Number                                    Washington, DC 20006
  bchristopher@mcguirewoods.com
                               E-Mail Address                                             Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  United Launch Services, LLC



  Name(s) of Party(ies) Represent                                   ☐Plaintiff(s) ☐ Defendant(s) ☒ Other:               Intervenor Defendant
and designating as Local Counsel
  Lally, Kevin M.                                                                        of     McGuireWoods LLP
  Designee’s Name (Last Name, First Name & Middle Initial                                       355 S. Grand Avenue
  226402                             213-457-9862                   213-457-9882                Suite 4200
   Designee’s Cal. Bar No.           Telephone Number                 Fax Number                Wells Fargo Center – South Towner
                                                                                                Los Angeles, California 90071
  klally@mcguirewoods.com
                                   E-Mail Address                                               Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☐GRANTED
  ☐DENIED:            ☐      for failure to pay the required fee.
                      ☐      for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐      for failure to complete Application:
                      ☐      pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                             is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐      pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                             District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: November 4, 2019
                                                                               U.S. District Judge/U.S. Magistrate Judge
 G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                  Page 1 of 1
